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 6   Attorneys for Defendants Nationstar Mortgage, LLC
     and Wells Fargo Bank, N.A., as Trustee For
 7   Structured Adjustable Rate Mortgage Loan Trust,
     Series 2007-3
 8

 9                           UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF WASHINGTON AT SEATTLE
10

11   BRETT DIFFLEY, an unmarried man,                    Case No. 2:17-cv-01370-RSM
12
                    Plaintiff,                           REPLY IN SUPPORT OF MOTION TO
13                                                       DISMISS PLAINTIFF’S COMPLAINT OF
                       v.                                DEFENDANTS NATIONSTAR
14                                                       MORTGAGE LLC AND WELLS FARGO
     NATIONSTAR MORTGAGE LLC, a foreign                  BANK N.A., AS TRUSTEE FOR
15   corporation, QUALITY LOAN SERVICE                   STRUCTURED ADJUSTABLE RATE
16   CORPORATION OF WASHINGTON, a                        MORTGAGE LOAN TRUST, SERIES
     Washington corporation, WELLS FARGO                 2007-3
17   BANK, N.A., as Trustee For Structured
     Adjustable Rate Mortgage Loan Trust, Series         NOTED ON MOTION CALENDAR:
18   2007-3,                                             NOVEMBER 17, 2017
19
                    Defendants.
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                                        I.      INTRODUCTION
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            Plaintiff Brett Diffley (“Plaintiff”) alleges he was unable to pay the approximately $570,000
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     principal, $64,000 real estate taxes, and $260,000+ interest accumulating since 2010 because, on
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     the eve of foreclosure in 2017, he questions less than $10,000 in fees for related current and past
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     foreclosure and default costs. Plaintiff further claims that these fees (amounting to 1% of the
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     amount due) resulted “in an inflated and enormous default that could never be cured”. (Plaintiff’s
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     Opposition pg 3). Yet Plaintiff makes no offer to tender or provide any explanation for his failure
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 1    to pay the other 99% of the loan which he does purport is inflated or an enormous default. His

 2    opposition is devoid of case law on point and merely attempts to deflect the complaint’s

 3    deficiencies by falsely claiming the Defendants have admitted purported wrong doing.

 4           In Plaintiff’s Opposition (“Opp.”) to the Motion to Dismiss (“Motion”) of Defendants

 5    Nationstar Mortgage, LLC (“Nationstar”) and Wells Fargo Bank, N.A. as trustee for Structured

 6    Adjustable Rate Mortgage Loan Trust, Series 2007-3 (“Wells Fargo”) (collectively, “Defendants”),

 7    Plaintiff does not show any reason the claims against Defendants should not be dismissed. Instead

 8    of addressing and countering the legal arguments in Defendant’s Motion, Plaintiff fills his

 9    Opposition with the unsupported facts and legally insufficient arguments from his Complaint
10    (“Compl.”). Specifically, the facts as alleged in Plaintiff’s Complaint and the authority cited in the

11    Opposition are not on point, and fail to show that the Complaint sufficiently states a viable claim

12    against Defendants under the applicable Twombly/Iqbal pleading standard set forth in the Motion.

13           Because Plaintiffs’ Opposition fails to counter the arguments set forth in Defendants’

14    Motion, that Motion should be granted.

15                                           II.     ARGUMENT

16    A.     Plaintiff’s First Cause of Action Still Fails Due to Exemption, Failure to Demonstrate

17           Error and Expiration of the Statute of Limitations.

18           12 C.F.R. §1024.17(i) (2) states “If at the time the servicer conducts the escrow account

19    analysis the borrower is more than 30 days overdue, then the servicer is exempt from the

20    requirements of submitting an annual escrow account statement to the borrower under §

21    1024.17(i).” The Complaint admits that Plaintiff was delinquent in his loan since 2010 and thus

22    Nationstar was exempt from providing any escrow statements.

23           Plaintiff confesses that the loan was in default when Nationstar took over servicing.

24    Plaintiff further alleges that he attempted for several years to obtain a loan modification from the

25    prior servicers. He even attaches the Notice of Default which reflects the loan being in default for

26    failure to remit payments due commencing June 1, 2010. (See Compl ¶¶ 2, 13, 14 Ex A). Although
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 1    Plaintiff now asserts that the latter portion of 12 C.F.R. §1024.17(i) (2) imposes a duty on the

 2    servicer to provide an escrow statement if a borrower becomes current, Plaintiff fails to allege

 3    anywhere in the four corners of the Complaint that he ever was current. Thus, no duty was

 4    triggered and Nationstar was not obligated to provide an escrow statement.

 5            Nor do Plaintiff’s citations support his argument. Quiller, an unpublished opinion from the

 6    11th Circuit, references that “generally” a statutory exemption is not the basis for dismissal. But

 7    Plaintiff fails to advise the Court of the next sentence which states “[n]evertheless, a complaint may

 8    be dismissed under Rule 12(b)(6) when its own allegations indicate the existence of an affirmative

 9    defense, so long as the defense clearly appears on the face of the complaint. Quiller v. Barclays
10    American/Credit, 727 F.2d 1067, 1068 (11th Cir. 1984); app. dismissed 812 F.2d 1413 (11th Cir.

11    1987); Cert. den’d 476 U.S. 1124 (1986); aff’d 764 F.2d 1400 (11th Cir. 1985). Here, the

12    Complaint and its exhibits evidence that the loan was and is in default since 2010 and it was already

13    in default when Nationstar undertook servicing. Thus the defense clearly appears on the face of the

14    Complaint.

15            Plaintiff's other cited cases, Jackson and Rachbach from the 10th and 11th Circuits, do not

16    stand for the proposition for which Plaintiff avers. Neither case says that a statutory exemption

17    cannot be the basis for a motion to dismiss. Neither case even remotely addresses that issue. Those

18    cases do not involve motions to dismiss, but post-answer proceedings and state that a defendant

19    waives an affirmative defense by not pleading it. Jackson v. Seaboard Coast Line R.R. Co. 678

20    F,2d 992 (11th Cir. 1982) Rachbach v. Cogswell, 547 F.2d 502 (10th Cir. 1976) [the court

21    considering post-trial motions stating immediately after the sentence quoted by Plaintiff “Because

22    Cogswell did not plead the defense of § 1614, he may not exploit it now.”] Those cases are

23    irrelevant.

24            The Deed of Trust Plaintiff executed specifically authorizes the lender to protect the

25    collateral by paying taxes or obtaining hazard insurance when the borrower fails to meet his

26    obligations in that regard. (Compl., Ex. K at § 5). Plaintiff’s claims that Nationstar “upon
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 1    information and belief” subjected him to force-placed insurance and failed to give him proper notice

 2    thereof are unavailing.1 (Compl. ¶¶ 20, 47). There is no identification of any wrongdoing associated

 3    with insurance nor does such an allegation support a cause of action.

 4            RESPA claims are subject to a three-year statute of limitations. Indeed Plaintiff admits that

 5    the “gravamen” of the Complaint is that Nationstar “failed to verify loan information transferred by

 6    the prior servicer”. (Opp. pg 3). The Complaint plainly states “[e]ffective January 10, 2014, as

 7    servicer, Nationstar is obligated but failed to comply”. (Compl ¶42). Now Plaintiff claims that he did

 8    not mean to allege Nationstar was the servicer on that date, but fails to allege what date Nationstar

 9    became servicer. There is no other date alleged in the Complaint as the date that Nationstar began
10    servicing except Plaintiff’s statement that Nationstar had an obligation “as servicer” on January 10,

11    2014.    Plaintiff attempts to avoid the fatality of the expiration of the statute of limitations by

12    intentionally failing to identify the date it arose. Such gamesmanship should not be tolerated.

13            Rather, Plaintiff argues that the expiration of the statute of limitations should be circumvented

14    because 2016 and 2017 statements include dollar amounts that were established years before.

15    Applying this flawed rationale would presumably extend the statute of limitations, in perpetuity,

16    though the Opposition is devoid of any legal support for such an interpretation.

17            On the contrary, “[t]he general rule is that a cause of action accrues and the statute of

18    limitations begins to run when a party has the right to apply to a court for relief." Perez v. U.S. Bank,

19    No. NO: 2:15-CV-0114-TOR, 2016 BL 59631 (E.D. Wash. Feb. 29, 2016), citing, Shepard v.

20    Holmes, 185 Wash. App. 730 , 739 , 345 P.3d 786 (2014). Accordingly, if as Plaintiff alleges,

21    Nationstar incorrectly on-boarded the loan, the cause of action arose on the date the loan was on-

22    boarded, a date that would not be extended in perpetuity each time Nationstar sent a monthly

23    statement adding current obligations to the past obligations.

24

25    1 Though Plaintiff alleges that “upon information and belief” he was subjected to force-placed insurance and in his
      Opposition alleges that there were “highly inflated premiums”, none of the multiple statements attached to the
26    Complaint including three monthly statements and two payoff statements demonstrate any charges for force-placed
      insurance.
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 1             Noticeably, Plaintiff does not address his claimed violation of RESPA for failing to provide an

 2    initial escrow balance, presumably abandoning that claim because it is time barred.

 3             The “gravamen” of the Complaint regarding the initial on-boarding of the loan is time barred,

 4    Nationstar was not required to send escrow statements, and Plaintiff failed to articulate any

 5    wrongdoing with insurance. The first cause of action must be dismissed.

 6    B.       Plaintiff’s First and Second Causes of Action Were Filed Prematurely and Should Be

 7             Dismissed.

 8             Plaintiff’s second cause of action alleges that Nationstar refused to respond to Plaintiff’s

 9    Request For Information and Notice of Error (the “Letters”) dated August 11, 2017, in violation of 12
10    C.F.R §1024.35 and §1024.36. (Compl. ¶¶ 49-50). The first cause of action contains the same

11    allegation but alleges it violates 12 U.S.C. §2605. Plaintiff does not challenge that these allegations

12    were premature. Instead he purports that the Court’s determination of the dates require “additional

13    factual determinations that cannot be disposed of by way of a motion to dismiss.” (Opp. pg 5). This

14    statement is unfounded.

15             Plaintiff states the Letters were dated August 11, 2017, and attaches the certified mail receipt

16    post marked August 11, 2017. (See Compl. 49-50, Exhibit G). The Complaint was filed on

17    September 11, 2017, 31 days after mailing. The statute provides the servicer thirty days from the day

18    of receipt (excluding weekends and holidays) to respond. 12 C.F.R. § 1024.35(e)(3)(c) and 12 C.F.R.

19    § 1024.36(d)(2)(B). The Court can glean without discovery, that in order for Nationstar to have been

20    obligated to respond to the Letters prior to the filing of the Complaint, Nationstar would have had to

21    receive the Letters by July 28, 2017, a date prior to Plaintiff’s mailing of the same.2 Accordingly,

22    Plaintiff cannot maintain a claim that Nationstar, as of the date of the Complaint, was in violation of

23

24    2 Plaintiff’s citation to Renfroe is misguided. The court in Renfroe, explicitly states that courts on 12(b)(6) motions to
      dismiss are bound to accept the allegations in the four corners of the complaint as true and restricts use of outside
25    documents to determine facts. Renfroe v. Nationstar Mortgage, LLC, 822 F.3d 1241 (11th Cir. 2016). That case does
      not prohibit a court from dismissing a complaint that has no merit. Or one, as here, that the Plaintiff’s allegations, taken
26    as true, establish that Plaintiff filed the case before Nationstar’s time to reply had expired and thus could not have
      violated the statutes.
27
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 1    either 12 C.F.R. § 1024.35(e)(3)(c) or 12 C.F.R. § 1024.36(d)(2)(B) and, as a matter of law, these

 2    claims should be dismissed.

 3    C.     Plaintiff’s Third and Fourth Claims for Violation of Fair Debt Collection Practices Act

 4           Still Fail Because Nationstar Is Not a Debt Collector and Foreclosure is Not Debt

 5           Collection Subject to the Fair Debt Collection Practices Act.

 6           Plaintiff’s attempt to rescue his Third and Fourth Causes of Action fails because he cannot

 7    show that Defendants are “debt collectors” for purposes of assigning liability under the FDCPA.

 8    Plaintiff’s citations to case law from the Sixth Circuit, even if applicable, would not be mandatory

 9    precedent for this Court. (See Opp. at 7). The applicable law here may be found in the recent U.S.
10    Supreme Court case, Henson v. Santander Consumer USA Inc., 137 S.Ct. 1718 (2017), as set forth

11    in Defendants’ Motion. (Motion at §D). Nationstar is a mortgage servicer and Wells Fargo is a

12    mortgage bank; neither is a business whose principal purpose is the collection of debts as defined in

13    15 U.S. Code § 1692a. Further, Defendants are seeking to enforce a secured interest, not to collect

14    money, which the Ninth Circuit acknowledges is not debt collection activity. Fong v. Prof’l

15    Foreclosure Corp., 2005 WL 3134059, at *2 (W.D. Wash. 2005) (“foreclosing on a deed of trust

16    enforces an interest in property, not a consumer’s obligation to pay money”).

17           Because Defendants are not debt collectors and foreclosing pursuant to a deed of trust is not

18    collection of a debt within the meaning of the FDCPA, Plaintiff’s FDCPA claim should be

19    dismissed with prejudice, in its entirety, and without leave to amend.

20    D.     Plaintiff’s Inability to Sustain the Other Causes of Action, Necessitate Dismissal of the

21           Derivative Fifth Cause of Action.

22           Plaintiff alleges that “Nationstar did not address Count Four of the Complaint containing

23    allegations that Nationstar violated the Washington Consumer Protection Act” [“CPA”]. (Opp. pg

24    7). However, the Complaint lists the CPA claim as Count Five and the Defendants addressed the

25    fifth cause of action alleging violation of the CPA at §E. (Compl. ¶¶61-66; Motion at §E). Though

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 1    Plaintiff alleges that Nationstar did not address it, he oddly argues that the motion to dismiss that

 2    cause of action should be denied.

 3             He does, however, fail to cite any authority. As Plaintiff cannot articulate a deceptive act

 4    (the deceptive acts relied upon fail as set forth in the Motion) or injury (the cause of which is his

 5    longstanding failure to pay his mortgage), his claim should be dismissed.

 6    E.       The Deed of Trust Act Permits Assessment of Foreclosure Fees and Cannot Form the

 7             Basis for a Breach of the Deed of Trust Action.

 8             As to the sixth cause of action regarding the collection of legal fees,3 Defendants were and

 9    are entitled to recoup the costs of the foreclosure, whether via judicial or nonjudicial means.
10    Plaintiff does not dispute that such recovery is permitted under the Deed of Trust Act [the “DTA”].

11             Plaintiff’s citation to Lucero v. Cenla, FSB is misplaced. Lucero v. Cenlar FSB, No. C13-

12    0602RSL, (W.D. Wash. Jan. 28, 2016). First, the language quoted is not contained in the 2013

13    decision he cited. Second, Plaintiff does not contest Defendants’ recovery for the foreclosure

14    expenses under the DTA, which specifically allows such recovery. Third, Lucero involved

15    litigation regarding a mortgage loan for which the bank was assessing the attorneys’ costs for the

16    litigation, not nonjudicial foreclosure fees as in this case.4 Fourth, the exhibits attached to the

17    Complaint demonstrate that the expenses (which are itemized) are “legal fees” or “advances” but he

18    dreams up “attorneys fees” to fabricate a claim which does not exist. Fifth, he perversely feigns the

19    fees were anticipatory of this litigation when the statements he has received for years (and attaches

20    to his Complaint) detail fees for items such as the trustee and publication costs caused by his nearly

21    8 years of failing to pay his mortgage. Sixth, his own Notice of Error does not impugn the validity

22    of the foreclosure expenses. (See Compl. Ex.F at page 72 and Ex.G). Seventh, Plaintiff falsely

23    states that Lucero stands for the proposition that Wells Fargo cannot recover fees incurred in a

24

25    3 Incorrectly referred to by Plaintiff as Count Five.


26    4 Defendants reserve their right to assess litigation fees under paragraph 26 of the Deed of Trust but that is not the fees
      referred to in the Complaint or Plaintiff’s exhibits.
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 1    nonjudicial foreclosure (which Lucero never discusses) and states that Wells Fargo committed the

 2    same breach in Lucero when Wells Fargo was not a party to or mentioned in that case except in

 3    citations to other cases.

 4             Because the fees and expenses were incurred solely and wholly due to Plaintiff’s breach of

 5    the Deed of Trust and permissible under the terms of the Deed of Trust and the DTA, the sixth

 6    cause of action seeking damages for a breach of the Deed of Trust against Wells Fargo should be

 7    dismissed.

 8    F.       Plaintiff’s Seventh and Ninth Claims for Negligence Should Be Dismissed as a Matter

 9             of Law.5
10             Plaintiff’s Complaint alleges that Defendants owed him a “duty of care as generally

11    prescribed by RESPA” and that Defendants breached that duty by failing to provide an escrow

12    analysis and failing to verify amounts owed when Nationstar undertook servicing. As escrow

13    statements were not due and on-boarding servicing of the loan occurred beyond the statute of

14    limitations, Plaintiff for the first time claims that Nationstar breached a duty to negotiate or process

15    a loan modification. Plaintiff fails to cite to any paragraph in the Complaint that alleges that

16    Nationstar had a duty or breached a duty with regard to negotiating or processing a loan

17    modification. In fact, the modification is not mentioned anywhere in the seventh cause of action

18    which specifically states that “Nationstar breached this duty by failing to verify loan information

19    possessed by the prior services when it onboarded the Loan.” (Compl. ¶ 74). The sudden insertion

20    of a claim for negligent modification should be dismissed as it is not contained in the Complaint.

21             As stated above, Plaintiff now claims that the statement in paragraph 42 of the Complaint

22    (that Nationstar as servicer had a duty in January 2014) did not mean that Nationstar became

23    servicer in January 2014. But Plaintiff fails to affirmatively state the date that Nationstar became

24    servicer.

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      5 Plaintiff incorrectly refers to these as Count Six and Eight.
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 1           Plaintiff intentionally withholds the date that Nationstar began servicing the Loan from this

 2    Court because Plaintiff knows that the statute of limitations is fatal to his claim.

 3           Instead of being candid, Plaintiff skirts around the issue by claiming the Complaint was not

 4    alleging that Nationstar negligently on-boarded the loan (even though expressly stated in the

 5    negligence cause of action and quoted supra). Now Plaintiff says he was alleging “acts and

 6    omissions occurring in 2016 and 2017.” (Opp. page 10). Plaintiff’s protestations are inadequate to

 7    restore the statute of limitations for any conduct, omissions or fees assessed that occurred prior to

 8    September 11, 2014, which are barred as a matter of law.

 9           Further, as set forth above and in the Motion, the conduct alleged does not violate the
10    statutes and is insufficient to support a negligence claim. With the exception of a newly-created

11    modification claim, none of the allegations allege any conduct beyond contractual duties to service

12    the Loan and do not trigger any tort duty of care to support a claim of negligence.

13           Plaintiff does not contest that the damages purported to be caused by Defendants’alleged

14    negligence in fact flow directly from Plaintiff’s ongoing default. Plaintiff does not disagree that the

15    Defendants are seeking to foreclose on the Property for which the fees, interest, principal, etc.

16    would be limited to the foreclosure of the Property rather than a money judgment against Plaintiff.

17    Accordingly, Plaintiff concedes that the damages and proximate cause prongs of the negligence

18    claims against Nationstar and derivatively against Wells Fargo are not satisfied necessitating

19    dismissal of the 7th and 9th causes of action.

20                                          III.    CONCLUSION

21           Based on the foregoing, Defendants respectfully request that the Court dismiss Plaintiff’s

22    Complaint with prejudice pursuant to Fed. R. Civ. P. 12(b)(6).

23           Respectfully submitted this 17th day of November, 2017.

24                                                      WITHERSPOON ∙ KELLEY
25
                                                        By:    s/ Michael J. Kapaun
26                                                            Michael J. Kapaun, WSBA # 36864
                                                              Steven J. Dixson, WSBA # 38101
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 4                                              Attorneys for Defendants Nationstar
                                                Mortgage, LLC and Wells Fargo Bank, N.A.,
 5                                              as Trustee For Structured Adjustable Rate
 6                                              Mortgage Loan Trust, Series 2007-3

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                                          CERTIFICATE OF SERVICE
 1

 2                   I hereby certify that on the 17th day of November, 2017,

 3          1.      I caused to be electronically filed the foregoing DEFENDANT NATIONSTAR
      MORTGAGE LLC and WELLS FARGO BANK, N.A.’S REPLY IN SUPPORT OF MOTION TO
 4    DISMISS PLAINTIFF’S COMPLAINT with the Clerk of the Court using the CM/ECF System
      which will send notification of such filing to the following:
 5

 6
      Vicente Omar Barraza
 7    BARRAZA LAW PLLC
      14245-F AMBAUM BLVD SW
 8    BURIEN, WA 98166
      omar@barrazalaw.com
 9    Attorney for Plaintiff
10    Robert W. McDonald
11    108 1st Ave S. Suite 202
      Seattle, WA 98104
12    rmcdonald@qualityloan.com
      Attorney for Defendant Quality Loan Service Corporation of Washington
13
             2.     I hereby certify that I have caused to be mailed by United States Postal Service the
14    foregoing document to the following non-CM/ECF participants at the addresses listed below: None
15
            3.      I hereby certify that I have mailed by United States Postal Service the foregoing
16    document to the following CM/ECF participants at the address listed below: None.

17           4.      I hereby certify that I have hand-delivered the foregoing document to the
      following participants at the addresses listed below: None.
18

19                                                         s/ Michael J. Kapaun
                                                           Michael J. Kapaun, WSBA # 36864
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